Case 3:17-cv-00446-MHL-RCY Document 11 Filed 04/18/18 Page 1 of 8 PageID# 56



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division


SUNDARIK. PRASAD,

          Plaintiff,

V.                                                                    Civil Action No. 3:17CV446


GOTHIC BEAUTY MAGAZINE, et aL,

          Defendants.


                                  MEMORANDUM OPINION


          Sundari K. Prasad, a Virginiainmate proceeding pro se and informa pauperis, filed this

civil action pursuant toBivens} By Memorandum Order entered on October 31,2017, the Court
directedPrasad to file a particularized complaint. (ECF No. 9.) Thereafter, Prasad filed a

Particularized Complaint (ECF No. 10), which is before the Court for evaluation pursuant to 28

U.S.C. §§ 1915(e)(2) and 1915A.

                                      I. Preliminary Review


          Pursuant to the Prison Litigation Reform Act ("PLRA") this Courtmust dismiss any

action filed by a prisoner if the Court determines the action (1)"is fiivolous" or (2)"fails to state

a claim on which reliefmay be granted." 28 U.S.C. § 1915(e)(2). Thefirst standard includes

claims based upon "an indisputably meritless legal theory," or claims where the "factual

contentions are clearly baseless." Clay v. Yates, 809 F. Supp. 417,427 (E.D. Va. 1992) (quoting
Neitzke V. Williams, 490U.S. 319, 327 (1989)), aff'd, 36 F.3d 1091 (4th Cir. 1994). The second

standard is thefamiliar standard for a motion to dismiss under Fed. R. Civ. P. 12(b)(6).




          ' Bivens v. Six Unknown Named Agents ofFed. Bureau ofNarcotics, 403 U.S. 388
(1971).
Case 3:17-cv-00446-MHL-RCY Document 11 Filed 04/18/18 Page 2 of 8 PageID# 57
Case 3:17-cv-00446-MHL-RCY Document 11 Filed 04/18/18 Page 3 of 8 PageID# 58
Case 3:17-cv-00446-MHL-RCY Document 11 Filed 04/18/18 Page 4 of 8 PageID# 59
Case 3:17-cv-00446-MHL-RCY Document 11 Filed 04/18/18 Page 5 of 8 PageID# 60
Case 3:17-cv-00446-MHL-RCY Document 11 Filed 04/18/18 Page 6 of 8 PageID# 61
Case 3:17-cv-00446-MHL-RCY Document 11 Filed 04/18/18 Page 7 of 8 PageID# 62
Case 3:17-cv-00446-MHL-RCY Document 11 Filed 04/18/18 Page 8 of 8 PageID# 63
